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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION


GREGORY J. LACH,                )
CONNIE R. LACH,                 )
                                )
               Plaintiffs       )
                                )
          v.                    )       Case No. 2:08 cv 251
                                )
UNITED STATES OF AMERICA,       )
through its Department of the   )
Interior and its National Parks )
Service,                        )
                                )
               Defendant        )
********************************)
UNITED STATES OF AMERICA,       )
through its Department of the   )
Interior and its National Parks )
Service,                        )
                                )
          Counter Claimant      )
                                )
          v.                    )
                                )
GREGORY J. LACH,                )
                                )
          Counter Defendant     )

                           OPINION AND ORDER

     This matter is before the court on the Motion for Summary

Judgment [DE 57] filed by the United States of America on Septem-

ber 15, 2011; the Motion to Strike Counter-Plaintiff United

States of America’s Motion for Summary Judgment [DE 61] filed by

the Lachs on October 4, 2011; the Motion for Summary Judgment [DE

62] filed by the Lachs on October 4, 2011; and the Motion for

Oral Argument on Pending Motions for Summary Judgment [DE 66]

filed by the Lachs on October 12, 2011.           For the following

reasons, the Motion for Summary Judgment [DE 57] is GRANTED, the
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Motion to Strike Counter-Plaintiff United States of America’s

Motion for Summary Judgment [DE 61] is DENIED, the Motion for

Summary Judgment [DE 62] is DENIED, and the Motion for Oral

Argument on Pending Motions for Summary Judgment [DE 66] is

DENIED.

                               Background

     Gregory and Connie Lach own a parcel of real property

commonly known as 5525 Stagecoach Road, Portage, Indiana.              In

1978, the National Park Service took ownership of two parcels of

land to the north of and adjacent to the Lach parcel.              One of

these parcels runs parallel to Stagecoach Road and separates the

Lach’s property from Stagecoach Road.       The deed identifies this

parcel as Tract 09-102 and provides that it is subject to roads

and highways.   The only road located on or through this parcel is

Stagecoach Road.    The United States recorded the deed on January

17, 1978.

     On October 2, 2005, a surveyor requested permission on

behalf of the Lachs to construct a driveway across Tract 09-102

so the Lachs could access Stagecoach Road from their property.

The National Park Service denied the request because it could not

grant an easement without congressional approval.           However, the

Lachs built a permanent driveway through Tract 09-102 and filed

an action to quiet title.



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     On July 16, 2010, the United States filed a motion for par-

tial summary judgment on the issues raised in the Lachs' com-

plaint.   The Lachs filed a cross-motion for summary judgment,

seeking declaration that they had a valid easement over the

parcel. The Lachs' primary theory of recovery was that, pursuant

to Indiana law, Stagecoach Road overlapped the Lachs' property.

     The court issued its Opinion and Order on December 2, 2010,

granting the United States’ motion for partial summary judgment

and denying the Lachs' motion for summary judgment.            In the

Opinion, the court determined that it lacked authority to adjudi-

cate the Lachs' claim that Stagecoach Road overlapped its prop-

erty because the United States did not unequivocally waive its

immunity.   The court went on to explain that, assuming it had

jurisdiction, the Lachs' argument lacked merit. Stagecoach Road

did not overlap the Lachs' property.        The court also held that

the Lachs had not used the parcel in such a manner to create a

prescribed or implied easement.         Finding that the Lachs did not

have a right to use the parcel either by overlap of Stagecoach

Road with their property or by easement, the court granted

summary judgment in favor of the United States.           The only claim

that remains pending is the United States’ counterclaim against

Gregory Lach for trespass and damages arising from cutting trees

and destroying the natural habitat of the National Park.              The



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United States proposes to dismiss its claim for monetary damages

against Gregory Lach if the Lachs agree to remove the driveway

from the strip of land the United States owns that separates the

Lachs' property from Stagecoach Road.        The Lachs oppose this

remedy, arguing that the issue over the easement has not been

decided and that the real parties in interest were not appropri-

ately joined.

                               Discussion

     As an initial matter, the Lachs filed a successive motion

for summary judgment, asking the court to find that they properly

built their driveway to access Stagecoach Road at its existing

location across the United States' property.          The Lachs previ-

ously presented this argument in their original motion for

summary judgment and motion to reconsider.          In the December 2,

2010 Opinion and Order, the court found the Lachs' argument in-

sufficient and determined that the Lachs did not have an easement

over the tract of property separating their property from Stage-

coach Road and could not assert the public’s interest in the

title to the tract of land separating its property from Stage-

coach Road.   The court reaffirmed this ruling in the Opinion and

Order denying the Lachs' motion to reconsider.

     It is within the court’s discretion to consider a successive

motion for summary judgment.        Whitford v. Boglino, 63 F.3d 527,


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530 (7th Cir. 1995).    Especially good reasons for permitting a

successive summary judgment motion include "(1) an intervening

change in controlling law; (2) the availability of new evidence

or an expanded factual record; and (3) need to correct a clear

error or prevent manifest injustice."         Whitford, 63 F.3d at 530.

Avoiding an unnecessary trial also may constitute good cause for

considering a successive motion for summary judgment.                Kim v.

Conagra Foods, Inc., 2003 WL 22669035, *2 (N.D. Ill. 2003).

     The Lachs have not shown any of these scenarios to be true.

Instead, they presented the same litany that the court twice has

denied.    The court previously determined that the Lachs do not

have an easement over the property and cannot claim an interest

that belongs to the public.         The Lachs have presented no reason

for failing to present all theories of interest in the tract

within their initial motion for summary judgment, and this fail-

ure constitutes a waiver of further argument on the issue.                See

Wright v. United States, 139 F.3d 551, 553 (7th Cir. 1998) (ex-

plaining that argument not waived in initial brief is considered

waived).   The Lachs have not shown that the law has changed, that

more evidence was produced, or that the motion was necessary to

correct a manifest injustice.        The Lachs are not entitled to

continue filing motions with slightly modified theories, hoping

that the court accepts one.         The court was clear in declining to



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find that the Lachs have an interest in the property.              Therefore,

the court, in its discretion, declines to consider the Lachs'

successive motion for summary judgment and maintains that the

Lachs do not have an interest in the property.

     The Lachs also move to strike the United States’ motion as

untimely.   The deadline for dipositive motions was August 31,

2011, and the United States did not file its motion for summary

judgment on the counterclaim until September 15, 2011, and did

not seek leave of court.     In the interest of judicial economy and

in an effort to resolve this matter without trial, the court, in

its discretion, will consider the United States’ motion on the

merits.   The remainder of the issues raised in the Lachs’ motion

to strike are more appropriately addressed as a response to the

United States’ motion for summary judgment.         For this reason, the

court DENIES the Lachs’ Motion to Strike [DE 61] and will con-

sider the additional arguments in response to the United States'

Motion for Summary Judgment.

     Pursuant to Federal Rule of Civil Procedure 56(c), summary

judgment is proper only if it is demonstrated that "there is no

genuine issue as to any material fact and the moving party is

entitled to a judgment as a matter of law."         Celotex Corp. v.

Catrett, 477 U.S. 317, 322-23, 106 S.Ct. 2548, 91 L.Ed.2d 265

(1986); Stephens v. Erickson, 569 F.3d 779, 786 (7th Cir. 2009).



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The burden is upon the moving party to establish that no material

facts are in genuine dispute, and any doubt as to the existence

of a genuine issue must be resolved against the moving party.

Adickes v. S.H. Kress & Company, 398 U.S. 144, 160, 90 S.Ct.

1598, 1610, 26 L.Ed.2d 142, 155 (1970); Stephens, 569 F.3d at

786.   A fact is material if it is outcome determinative under

applicable law.    There must be evidence on which the jury reason-

ably could find for the nonmoving party.          Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 2510, 91 L.Ed.2d

202, 212 (1986); Stephens, 569 F.3d at 786; Wheeler v. Lawson,

539 F.3d 629, 634 (7th Cir. 2008).

       Summary judgment is inappropriate for determination of

claims in which issues of intent, good faith, and other subjec-

tive feelings play dominant roles.       Ashman v. Barrows, 438 F.3d

781, 784 (7th Cir. 2006).    Upon review, the court does not evalu-

ate the weight of the evidence, judge the credibility of wit-

nesses, or determine the ultimate truth of the matter; rather,

the court will determine whether there exists a genuine issue of

triable fact.     Wheeler, 539 F.3d at 634 (citing Anderson, 477

U.S. at 248, 106 S.Ct. at 2510).



       In deciding a motion for summary judgment, the trial court

must determine whether the evidence presented by the party



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opposed to the summary judgment is such that a reasonable jury

might find in favor of that party after a trial.

           The inquiry performed is the threshold in-
           quiry of determining whether there is the
           need for a trial--whether, in other words,
           there are any genuine factual issues that
           properly can be resolved only by a finder of
           fact because they may reasonably be resolved
           in favor of either party.

           [T]his standard mirrors the standard for a
           directed verdict under Federal Rule of Civil
           Procedure 50(a), which is that the trial
           judge must direct a verdict if, under the
           governing law, there can be but one reason-
           able conclusion as to the verdict.

           Anderson, 477 U.S. at 250, 106 S.Ct. at 2511

See also Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133,

149-151, 120 S.Ct. 2097, 2109, 147 L.Ed.2d 105, 120-122 (2000)

(setting out the standard for a directed verdict); Celotex Corp.,

477 U.S. at 322-23, 106 S.Ct. at 2553; Stephens, 569 F.3d at 786;

Argyropoulos v. City of Alton, 539 F.3d 724, 732 (7th Cir. 2008)

(stating that a genuine issue is one on which a reasonable fact

finder could find for the nonmoving party); Springer v. Durfling-

er, 518 F.3d 479, 483 (7th Cir. 2008)(stating that a genuine

issue exists and summary judgment is inappropriate if there is

sufficient evidence for a jury to return a verdict for the

nonmoving party).

     The United States proposes to dismiss its counterclaim for

damages arising from destruction to the natural habitat to the

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National Park if the Lachs agree to remove the driveway from the

parcel of land owned by the United States separating the Lachs'

property from Stagecoach Road.       The Lachs oppose that offer, ar-

guing that the issue of ownership and right to use the tract of

land remains at issue and that the United States has not joined

the proper parties to recover the relief it seeks.

     The Lachs first argue that the court has not determined

whether Stagecoach Road overlaps the Lachs’ north property line

at the location of their driveway or whether the Lachs’ driveway

would constitute a trespass.        The Lachs take the position that

the court did not have subject matter jurisdiction over the issue

of whether Stagecoach Road overlapped the Lachs’ property, and

because the court lacked subject matter jurisdiction, it could

not have decided the issue of whether the properties overlapped,

providing the Lachs with access to the road.

     In the December 2, 2010 Opinion and Order, the court ex-

plained that the United States is immune from suit unless it

unequivocally waives its immunity.        Dep’t of Army v. Blue Fox,

Inc., 525 U.S. 255, 260, 119 S.Ct. 687, 142 L.Ed.2d 718 (1999);

United States v. Nordic Village, Inc., 503 U.S. 834, 841, 106

S.Ct. 2224, 90 L.Ed.2d 841 (1986).        Title 28 U.S.C. §1346(f)

waives the United States' immunity to the extent that a civil

action is brought "under section 2409a to quiet title to an



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estate or interest in real property in which an interest is

claimed by the United States."       A quiet title action must be

filed by someone claiming an interest in the title of the prop-

erty.     Kinscherff v. United States, 586 F.2d 159, 160 (10th Cir.

1978); Rock Island Oil & Refining Co. v. Simmons, 386 P.2d 239,

240 (N.M. 1963).     Members of the public do not hold an interest

in the title to public roads and cannot bring an action to quiet

title to such under 28 U.S.C. §1346(f).           See Kinscherff, 586 F.2d

at 160 (finding that members of the public do not have title to

public roads); Sw. Four Wheel Drive Ass’n v. Bureau of Land

Mgmt., 363 F.3d 1069, 1071 (10th Cir. 2004)(finding that members

of the public cannot maintain actions to quiet title to public

roads); Long v. Area Manager, Bureau of Reclamation, 236 F.3d

910, 915 (8th Cir. 2001)(finding that the right of an individual

to use a public road is not a right or interest in property for

the purpose of the Quiet Title Act).

        The court’s opinion more accurately concluded that the

United States has not waived its immunity from suit.                The court

first determined that the Lachs were asserting the interest of

the public in the tract of land separating Stagecoach Road from

their property and that private individuals cannot raise the

public’s interest in property to quiet title.           The court explic-

itly stated that "[m]embers of the public do not hold an interest



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in the title to public roads" and that the Lachs' interest is one

that is vested in the public generally. (Opinion and Order p. 6)

"[T]he Lachs cannot claim title to Stagecoach Road." (Opinion and

Order p. 7)    Because the Lachs cannot personally hold an interest

in public property, the Lachs do not have a valid easement or

interest in Tract 09-102 under this theory, and they cannot main-

tain their driveway under this theory.

      Next, the Lachs argue that the City of Portage, Indiana, has

an easement across the United States’ property and that the

driveway does not constitute trespass because Portage authorized

construction.    Again, the Lachs are not the proper party to

assert the City of Portage’s interest and cannot show that they

have an interest in the property by asserting Portage’s right.

However, the Lachs may avoid summary judgment entered in favor of

the United States on its counterclaim for trespass by showing

that a genuine issue of material fact remains in question con-

cerning who has control of the property.1



      To state a claim for trespass, the Restatement (Second) of

Torts §165, (1965) provides:


      1
         At this stage, the court is not determining whether the Lachs or
public have an interest in Stagecoach Road under the theory that the road
extends to the Lachs’ property line. Rather, the court is considering whether
a question of fact remains concerning whether someone other than the United
States has an interest in Tract 09-102. Therefore, the issue of immunity is
irrelevant to the discussion.

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             One who recklessly or negligently, or as a
             result of an abnormally dangerous activity,
             enters land in the possession of another or
             causes a thing or third person so to enter is
             subject to liability to the possessor if, but
             only if, his presence or the presence of the
             thing or the third person upon the land
             causes harm to the land, to the possessor, or
             a thing or a third person in whose security
             the possessor has a legally protected inter-
             est.

        The United States has established that it has a legally

protected interest because it holds title to the property and has

a right to control its property and territories.             See U.S. Const.

Art. IV, §3, cl. 2.     The burden then shifts to the Lachs to show

that a genuine issue of fact remains concerning ownership and

control of the specific tract at issue.           The Lachs argue that a

material issue of fact remains in dispute because the United

States’ title states that it is subject to the roads and highways

on the property.    At the time the United States obtained the

parcel, the only road transgressing the property was Stagecoach

Road.    Pursuant to the active law, the road was limited to that

which was in continuous use by the public.          In 1988, after the

United States obtained the property, Indiana enacted a law

expanding the width of public roads to 20 feet beyond the portion

used.     See Indiana Code §8-20-1-15.     The Property Clause grants

the United States absolute control over its territory.                U.S.

Const. Art. IV, §3, cl. 2.      Therefore, the state cannot unilater-



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ally take property away from the United States or expand its

easement without congressional approval.          The Lachs have not

provided any substantive legal argument to show that the State of

Indiana could expand its easement without consent of the United

States or evidence to show that the United States consented.

For this reason, the Lachs have not presented a viable theory to

show that a genuine issue of fact remains concerning ownership of

the tract.    Rather, the record reflects that the United States

owns and controls the parcel.

      In a final attempt to avoid judgment, the Lachs argue that

they cannot be compelled to remove their driveway because the

United States has not joined the necessary parties, namely,

Connie Lach and the City of Portage.        The United States’ counter-

claim only names Gregory Lach and seeks damages for trespass and

for the destruction to the trees and wildlife he destroyed when

constructing the driveway across the United States’ property.

The United States proposes to dismiss its claim for monetary

damages for destruction of property if the Lachs agree to remove

the driveway.

      The court generally refrains from issuing injunctive relief

when there is an adequate remedy at law.          Frohwerk v. Buss, 2011

WL 1657751, *1 (N.D. Ind. May 2, 2011); Crue v. Aiken, 137

F.Supp.2d 1076, 1083 (C.D. Ill. 2001).        When ruling on a request



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for injunctive relief, the court will consider whether the plain-

tiff has adequate remedies at law, whether the plaintiff will

suffer irreparable harm if the injunction is not issued, if the

threatened injury outweighs the threatened harm, and the public

interest.   16 Ind. Law Encyc. Injunction §9.         The court has

recognized that injunctive relief is an appropriate remedy when

there is a permanent trespass.        See Harris v. Krekler, 46 N.E.2d

267, 269 (Ind. App. 1943); Evans v. Shephard, 142 N.E. 730, 732

(Ind. App. 1924) ("If the acts of appellants as above set out

constitute continuous trespass upon appellee's rights, it is well

settled that she is entitled to injunctive relief."); Fisher v.

Carey, 119 N.E. 376, 377 (Ind. App. 1918) ("A threatened distur-

bance to an owner's right of possession has been held to autho-

rize injunctive relief.").

      Although injunctive relief may be an appropriate remedy, the

parties’ dispute arises over whether the court can enforce this

remedy because Connie Lach has not been joined as a party to the

United States’ counterclaim.        The court cannot issue an order

compelling Connie to perform or refrain from performing an act

because she was not joined as a party.        See National Spiritual

Assembly of Baha’is of U.S. v. National Spiritual Assembly of the

Baha’is of the United States, 547 F.Supp.2d 879, 890 (N.D. Ill.

2008) (citing Alemite Mfg. Corp. v. Staff, 42 F.2d 832 (2nd Cir.



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1930)) ("no court can make a decree which will bind any one but a

party; a court of equity is as much so limited as a court of law;

it cannot lawfully enjoin the world at large, no matter how

broadly it words its decree.").       However, issuing an injunction

would be an appropriate remedy against Gregory, who committed a

trespass by constructing the driveway and was named as a party to

the lawsuit.    The Lachs have not demonstrated how imposing this

remedy against Gregory would impair Connie’s interest in any

manner.   The court has already determined that Connie does not

hold an interest in the property by title or easement.              Her inte-

rest is limited to the same extent as Gregory’s, and her continu-

ous use constitutes a trespass.       The court sees no reason to

reject the United States’ request for a permanent injunction

because Gregory has committed a trespass and Connie has no inte-

rest in the property that would be impaired by ordering removal.

      Finally, the Lachs argue that the City of Portage must be

joined.   However, the Lachs have not shown that Portage has or is

claiming an interest in the property.        True, the City of Portage

issued the Lachs a building permit to construct the driveway, but

the record reflects that the Lachs represented to Portage that

they had obtained an easement over the United States' property.

There is nothing of record to suggest that Portage believed it

had a right to control the property and issue an easement without



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the United States' consent.         Moreover, as explained above,

Portage could not have unilaterally increased the width of its

easement without the United States' consent.

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      Based on the foregoing reasons, the Motion for Summary

Judgment [DE 57] filed by the United States on September 15,

2011, is GRANTED, the Motion to Strike Counter-Plaintiff United

States of America’s Motion for Summary Judgment [DE 61] filed by

the Lachs on October 4, 2011, is DENIED, the Motion for Summary

Judgment [DE 62] filed by the Lachs on October 4, 2011, is

DENIED, and the Motion for Oral Argument on Pending Motions for

Summary Judgment [DE 66] filed by the Lachs on October 12, 2011,

is DENIED.


      ENTERED this 6th day of April, 2012




                                     s/ ANDREW P. RODOVICH
                                        United States Magistrate Judge




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